      Case 8:23-ap-01046-SC      Doc    Filed 06/23/23 Entered 06/23/23 16:17:52    Desc Main
                                       Document      Page 1 of 5



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     United States Trustee
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     Assistant United States Trustee
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 7
 8                     UNITED STATES BANKRUPTCY COURT
 9             CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

10    In re:                                            Case Number 8:23-bk-10571-SC
11                                                      Chapter 11
      THE LITIGATION PRACTICE
12    GROUP, P.C.,
                                                        UNITED STATES TRUSTEE’S STATUS
13                                                      REPORT IN RESPONSE TO THE
                                                        COURT’S SUA SPONTE REQUEST
14                                                      [DOCKET #128]
                                 Debtor.
15
                                                        [no hearing]
16
17
18         TO THE HONORABLE SCOTT CLARKSON, UNITED STATES
19   BANKRUPTCY JUDGE, DEBTOR, DEBTOR’S COUNSEL, CHAPTER 11
20   TRUSTEE, AND ALL PARTIES IN INTEREST:
21         The United States Trustee (“U.S. Trustee”) files this status report in response to the
22   Court’s Sua Sponte Request filed on June 22, 2023, as Docket # 128. The Court has
23   requested the U.S. Trustee to report on his intentions to appoint a committee to represent
24   the interests of the clients/customers of the Debtor.
25         In his opposition to Emergency Motion Authorizing the Chapter 11 Trustee to Enter
26   Into an Expense Reimbursement Agreement with the Ad Hoc Committee (“Opposition to
27   AHC Motion”) [Docket No. 127], the U.S. Trustee briefly explains the efforts taken thus
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       Case 8:23-ap-01046-SC            Doc     Filed 06/23/23 Entered 06/23/23 16:17:52                 Desc Main
                                               Document      Page 2 of 5



 1   far in appointing an official committee of unsecured creditors under 11 U.S.C. § 1102

 2   (“Official Committee”). Specifically, the U.S. Trustee initially solicited the creditors listed

 3   on the top 20 largest creditors list filed by the Debtor, but the U.S. Trustee did not appoint

 4   an Official Committee under § 1102 because of an insufficient number of unsecured

 5   creditors willing or able to serve. Nonetheless, the U.S. Trustee re-solicited creditors to

 6   serve on the Official Committee.

 7           A. Status of Re-Solicitation

 8           A second solicitation notice was sent on June 14, 2023, to a total of 50 parties based

 9   on proof of claims filed as of June 5, 2023. 1 The deadline to respond is June 23, 2023, by

10   close of business. The U.S. Trustee is still receiving interest from unsecured creditors.

11           As of June 21, 2023, the U.S. Trustee received six affirmative responses to the

12   second solicitation notice. The U.S. Trustee scheduled interviews with all six for June 22,

13   2023. Five of the six creditors were interviewed for committee membership, and one

14   individual did not attend the scheduled interview.

15           Additionally, the U.S. Trustee received affirmative responses from the initial

16   solicitation in March from Debt Validation Fund II, LLC and MC DVI Fund I, LLC & MC
17   DVI Fund II, LLC. The U.S. Trustee has inquired whether they are still interested in
18   serving on the Official Committee. On the evening of June 23, 2023, both creditors
19   responded that they were still interested in serving on the committee. The U.S. Trustee will
20   interview both creditors the week of June 26, 2023, and will file an amended notice of
21   appointment if the U.S. Trustee determines that they should serve on the committee.
22           B. The Proposed Ad Hoc Committee
23           On June 16, 2023, the Chapter 11 Trustee’s counsel informed the U.S. Trustee of the
24   names of the three proposed members of the Ad Hoc Committee: Blanche Whealdon,
25
     1 As of June 5, 2023, there were 60 proof of claims that had been filed.     From this list, the U.S. Trustee removed
26   seven government agencies as they cannot serve on the Official Committee, removed two parties that had received
     the initial solicitation in March and either did not respond or declined to serve on the Official Committee, and
27   removed one duplicate claim. This created the list of 50 parties there were served the second solicitation notice.
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       Case 8:23-ap-01046-SC               Doc     Filed 06/23/23 Entered 06/23/23 16:17:52                      Desc Main
                                                  Document      Page 3 of 5



 1   Abby Beaudin, and Heidi Hirsh. Since both Ms. Whealdon and Ms. Beaudin had filed

 2   proofs of claim (Claims Nos. 48 and 50, respectively), the U.S. Trustee had already sent

 3   them the second solicitation notice and creditor committee solicitation form.

 4           Ms. Whealdon returned the form to the U.S. Trustee indicating her willingness to

 5   serve on the Official Committee. The U.S. Trustee scheduled a phone interview with Ms.

 6   Whealdon for June 22, 2023, at 12:00 p.m. However, Ms. Whealdon did not appear for the

 7   interview. The U.S. Trustee will attempt to reschedule her interview for the week of June

 8   23, 2023.

 9           Ms. Beaudin returned her solicitation form to the U.S. Trustee on the evening of June

10   22, 2023, with a signed copy of her engagement letter with Pachulski. The U.S. Trustee

11   intends to interview her for committee membership the week of June 23, 2023. the week of

12   June 26, 2023.

13           The U.S. Trustee did not send a solicitation form to Ms. Hirsh because she had not

14   filed a proof of claim.

15           C. Status of Official Committee of Unsecured Creditors Formation
16           From the second solicitation, the U.S. Trustee received sufficient responses to be
17   able to appoint an Official Committee that is representative of all unsecured creditors in
18   this case. As such, the U.S. Trustee has appointed an Official Committee of Unsecured
19   Creditors. See Notice of Appointment at ECF No. 134.2
20
                                                                            Respectfully submitted,
21                                                                          PETER C. ANDERSON
22                                                                          UNITED STATES TRUSTEE
23
24   DATED: 06/23/2023                                                      By: /s/ Kenneth Misken
                                                                            Kenneth Misken
25                                                                          Assistant U.S. Trustee
26
     2 The U.S. Trustee reserves the right to file an amended notice of appointment to add additional committee members, and if the
27   U.S. Trustee determines to be appropriate, to form additional committees to ensure adequate representation of all unsecured
     creditors.
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                                                                    3
       Case 8:23-ap-01046-SC           Doc     Filed 06/23/23 Entered 06/23/23 16:17:52                Desc Main
                                              Document      Page 4 of 5



1                                  PROOF OF SERVICE OF DOCUMENT
2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
3
     OFFICE OF THE UNITED STATES TRUSTEE, 411 WEST FOURTH ST., SUITE 7160, SANTA ANA, CA 92701
4

5    A true and correct copy of the foregoing document entitled UNITED STATES TRUSTEE’S 67$786
     5(3257,15(63216(727+(&2857 668$63217(5(48(67>'2&.(7@
6    will be served or was served (a) on the judge in chambers in the form and manner required by LBR
     5005-2(d); and (b) in the manner stated below:
7

8     TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
     General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to thedocument.
9    On June 2, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding anddetermined
     that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the emailaddresses
10
     stated below:
11
         x   Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
12       x   Ronald K Brown ron@rkbrownlaw.com
13
         x   Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
         x   Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
14       x   Randall Baldwin Clark rbc@randallbclark.com
         x   Christopher Ghio christopher.ghio@dinsmore.com
15       x   Richard H Golubow rgolubow@wghlawyers.com,
             jmartinez@wghlawyers.com;svillegas@wghlawyers.com
16
         x   D Edward Hays ehays@marshackhays.com,
17           ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
             oza@ecf.courtdrive.com
18       x   Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
         x   Garrick A Hollander ghollander@wghlawyers.com,
19
             jmartinez@wghlawyers.com;svillegas@wghlawyers.com
20       x   Joon M Khang joon@khanglaw.com
         x   Ira David Kharasch ikharasch@pszjlaw.com
21       x   David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
         x   Christopher J Langley chris@slclawoffice.com,
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             omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
23       x   Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
         x   Michael D Lieberman mlieberman@lipsonneilson.com
24       x   Richard A Marshack (TR) pkraus@marshackhays.com,
             rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
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         x   Laila Masud lmasud@marshackhays.com,
26
             lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
         x   Kenneth Misken Kenneth.M.Misken@usdoj.gov
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         x   Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
28       x   Victoria Newmark vnewmark@pszjlaw.com

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       Case 8:23-ap-01046-SC            Doc     Filed 06/23/23 Entered 06/23/23 16:17:52                  Desc Main
                                               Document      Page 5 of 5



         x   Queenie K Ng queenie.k.ng@usdoj.gov
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         x   Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
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             calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
4
         x   Olivia Scott olivia.scott3@bclplaw.com
5        x   Jonathan Serrano jonathan.serrano@dinsmore.com
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6        x   Leslie Skorheim leslie.skorheim@usdoj.gov
         x   Andrew Still astill@swlaw.com, kcollins@swlaw.com
7
         x   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
8        x   Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com

9    2. SERVED BY UNITED STATES MAIL: On June 2, 2023, I served the following persons and/or entities at thelast
     known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof ina
10   sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
     here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document
11   is filed.

12

13
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
14   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on June 2, 2023, I
     served the following persons and/or entities by personal delivery, overnight mail service, or (for those whoconsented
15   in writing to such service method), by facsimile transmission and/or email as follows. Listing the judgehere
     constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no laterthan 24
16   hours after the document is filed.I declare under penalty of perjury under the laws of the United States thatthe
     foregoing is true and correct.
17
     Judge Clarkson – bin on the 5th fORRU
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19

20
     DATED: 6/2/23                           /HVOLH6NRUKHLP              V/HVOLH6NRUKHLP
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